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                                                                                          Howard M. Cooper
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                                                                September 8, 2021
   REDACTED VERSION
   VIA ECF
   Honorable Loretta A. Preska
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, NY 10007-1312

           Re:      Giuffre v. Dershowitz, Case No.: 19-cv-03377-LAP

   Dear Judge Preska:

          Defendant Alan Dershowitz (“Professor Dershowitz”) respectfully submits this pre-motion letter
   to request that the Court allow him to make a limited disclosure of a Settlement Agreement and General
   Release (the “Release”) executed by Plaintiff Virginia Giuffre (“Ms. Giuffre”) which she has designated
   as confidential in discovery in this action. Professor Dershowitz seeks to disclose the Release on a
   confidential basis to counsel for Prince Andrew in Giuffre v. Prince Andrew, Duke of York, 1:21-cv-
   06702-LAK,


          On November 17, 2009, Ms. Giuffre executed the Release in connection with the settlement of
   Jane Doe 102 v. Jeffrey Epstein, No. 09-80656 (S.D. Fla. May 4, 2009). The Release is attached hereto
   as Exhibit A, submitted under seal.

                                                                                                       Ms.
   Giuffre’s 2009 lawsuit against Epstein included an express allegation that she had been sexually
   trafficked to royalty, see Exhibit B at ¶ 21, an allegation which she later admitted referred to HRH
   Prince Andrew, Duke of York. See Exhibit C at p. 5. As a result, there is no doubt that Ms. Giuffre was
   aware of her alleged claims against Prince Andrew before she agreed to the Release (assuming her
   claims have any actual basis in fact).


           As this Court is aware, after Professor Dershowitz invoked this very same Release, Ms. Giuffre
   voluntarily dismissed her claim for battery against Professor Dershowitz on August 12, 2021. See ECF
   No. 330. Yet, on August 9, 2021, nearly two weeks after Professor Dershowitz had invoked the Release
   via letter to Ms. Giuffre’s counsel in this action, Ms. Giuffre, through separate counsel, filed her
   complaint against Prince Andrew.

           In a letter to counsel dated July 28, 2021, I raised specific concerns under Fed. R. Civ. P. 11
   about Ms. Giuffre having made a claim against Professor Dershowitz
                                     While Ms. Giuffre’s counsel in this action appropriately responded by
   voluntarily dismissing her battery claim against Professor Dershowitz,
                                                                                      I have a professional
   obligation to make sure that there is no possibility


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          When producing the Release in discovery in this matter, Ms. Giuffre designated it confidential
   under the Protective Order, ECF No. 227. She has refused to withdraw that designation for the limited
   purpose of providing the Release to counsel for Prince Andrew. See Exhibit D. Jeffrey Epstein’s estate
   has similarly refused to permit the disclosure of the Release to Prince Andrew.1 Professor Dershowitz
   accordingly seeks the Court’s intervention.

            There is no legitimate justification for blocking the disclosure of the Release to Prince Andrew.
   First, the existence of the Release is a matter of public record, having been expressly referenced in the
   Stipulation of Partial Dismissal, ECF No. 330, filed by Ms. Giuffre in this matter.



                                                                                              Indeed, Ms.
   Giuffre’s counsel in executing the Release, Robert Josefsberg, Esq., has independently produced a copy
   of the Release in this litigation with the settlement amount redacted but otherwise without any
   confidentiality designation. Professor Dershowitz would be justified in providing at least the version
   produced by Mr. Josefsberg to counsel for Prince Andrew, but given that Ms. Giuffre has refused to
   withdraw her confidentiality designation over the version of the document that she produced (with the
   settlement amount unredacted), Professor Dershowitz in an abundance of caution seeks permission from
   the Court before making any disclosure.




                                                       Respectfully submitted,

                                                       _/s/ Howard M. Cooper_
                                                       Howard M. Cooper

   cc:     Plaintiff’s counsel of record, via ECF




   1
     Professor Dershowitz recognizes that Epstein too is a party to the Release. Accordingly, he has
   provided a copy of this letter motion to counsel for Epstein’s estate.

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